        Case 1:18-mc-00653-JEJ Document 53 Filed 03/14/19 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PENNSYLVANIA NATIONAL MUTUAL :
CASUALTY INSURANCE COMPANY, :                    1:18-mc-653
                                     :
          Petitioner,                :           Hon. John E. Jones III
                                     :
     v.                              :
                                     :
EVEREST REINSURANCE COMPANY, :
                                     :
          Respondent.                :
____________________________________

EVEREST REINSURANCE COMPANY, :
                             :
         Petitioner,         :
                             :
    v.                       :
                             :
PENNSYLVANIA NATIONAL MUTUAL :
CASUALTY INSURANCE COMPANY, :
                             :
         Respondent.         :

                                    ORDER

                                March 14, 2019

Presently before this Court are competing Motions to Compel Arbitration (Docs. 1

and 31). In conformity with the Memorandum issued on today’s date, IT IS

HEREBY ORDERED:

   1. Pennsylvania National Mutual Casualty Insurance Company’s Motion to

      Compel Arbitration, (Doc. 1), is GRANTED.
    Case 1:18-mc-00653-JEJ Document 53 Filed 03/14/19 Page 2 of 2




2. Everest Reinsurance Company’s Motion to Compel Existing Arbitration and

  to Stay Subsequent Arbitration, (Doc. 31), is DENIED.

3. Pennsylvania National Mutual Casualty Insurance Company’s Motions to

  Seal, (Docs. 3, 24, 26, 40), are GRANTED.

4. The Clerk of the Court SHALL CLOSE the file on this case.



                                              s/ John E. Jones III
                                              John E. Jones III
                                              United States District Judge
